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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CALVIN DAMON and                                     CONSOLIDATED UNDER
ROSEANN DAMON,                 FILED
                                   :
                                                     MDL 875

     Plaintiffs,               SEP 0 1 20:15
     v.                     MICHAELE. KONZ: Clerk
                            By          Dep. Clerk
AIREON MANUFACTURING CORP.           I

ET AL.   I                                           E.D. PA CIVIL ACTION NO.
                                                     2:14-01954-ER
     Defendants.

                                         0 RD ER

                AND NOW, this 31st day of August, 2015, it is hereby

ORDERED that the Motion for Summary Judgment of Defendant General

Electric Company (Doc. No. 253) is GRANTED. 1


     1
          This case was removed in April of 2014 from the Court
of Common Pleas of Philadelphia to the United States District
Court for the Eastern District of Pennsylvania, where it became
part of MDL-875.

          Plaintiff Calvin Damon ("Mr. Damon") alleges that he
developed lung cancer as a result of exposure to asbestos while
serving in the Navy. Plaintiffs allege that General Electric
Company ("GE" or "General Electric") is liable for asbestos
exposure arising from shipboard equipment manufactured by it (or
Radio Corporation of America ("RCA"), which Plaintiff asserts was
acquired by General Electric), which was used aboard ships. The
alleged exposure pertinent to Defendant occurred aboard:

                •     USS Independence (CVA-62) - May 1964-May 1966
                •     USS Lake Champlain (CVS-39) - June 1966-July 1967

          Plaintiffs brought claims against various defendants.
Defendant General Electric has moved for summary judgment,
arguing that there is insufficient evidence to establish
causation with respect to any product for which it could be
liable. Defendant asserts that maritime law applies. Plaintiffs
contend that their claims are governed by Pennsylvania state law.
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I.   Legal Standard

     A.      Summary Judgment Standard
          Summary judgment is appropriate if there is no genuine
dispute as to any material fact and the moving party is entitled
to judgment as a matter of law. Fed. R. Civ. P. 56(a). "A motion
for summary judgment will not be defeated by 'the mere existence'
of some disputed facts, but will be denied when there is a
genuine issue of material fact." Am. Eagle Outfitters v. Lyle &
Scott Ltd., 584 F.3d 575, 581 (3d Cir. 2009) (quoting Anderson v.
Liberty Lobby, Inc., 477 U.S. 242, 247-248 (1986)). A fact is
"material" if proof of its existence or non-existence might
affect the outcome of the litigation, and a dispute is "genuine"
if "the evidence is such that a reasonable jury could return a
verdict for the nonmoving party." Anderson, 477 U.S. at 248.

          In undertaking this analysis, the court views the facts
in the light most favorable to the non-moving party. "After
making all reasonable inferences in the nonmoving party's favor,
there is a genuine issue of material fact if a reasonable jury
could find for the nonmoving party." Pignataro v. Port Auth. of
N.Y. & N.J., 593 F.3d 265, 268 (3d Cir. 2010) (citing Reliance
Ins. Co. v. Moessner, 121 F.3d 895, 900 (3d Cir. 1997)). While
the moving party bears the initial burden of showing the absence
of a genuine issue of material fact, meeting this obligation
shifts the burden to the non-moving party who must "set forth
specific facts showing that there is a genuine issue for trial."
Anderson, 477 U.S. at 250.

     B.      The Applicable Law
           Defendant asserts that maritime law applies. Plaintiffs
contend that their claims are governed by Pennsylvania law.
Whether maritime law is applicable is a threshold dispute that is
a question of federal law, see U.S. Const. Art. III, § 2; 28
U.S.C. § 1333(1), and is therefore governed by the law of the
circuit in which this MDL court sits. See Various Plaintiffs v.
Various Defendants ("Oil Field Cases"), 673 F. Supp. 2d 358, 362
 (E.D. Pa. 2009) (Robreno, J.). This court has previously set forth
guidance on this issue. See Conner v. Alfa Laval, Inc., 799 F.
Supp. 2d 455 (E.D. Pa. 2011) (Robreno, J.).




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            In order for maritime law to apply, a plaintiff's
exposure underlying a products liability claim must meet both a
locality test and a connection test. Id. at 463-66 (discussing
Jerome B. Grubart, Inc. v. Great Lakes Dredge & Dock Co., 513
U.S. 527, 534 (1995)). The locality test requires that the tort
occur on navigable waters or, for injuries suffered on land, that
the injury be caused by a vessel on navigable waters. Id. In
assessing whether work was on "navigable waters" (i.e., was sea-
based) it is important to note that work performed aboard a ship
that is docked at the shipyard is sea-based work, performed on
navigable waters. See Sisson v. Ruby, 497 U.S. 358 (1990). This
Court has previously clarified that this includes work aboard a
ship that is in "dry dock." See Deuber v. Asbestos Corp. Ltd.,
No. 10-78931, 2011 WL 6415339, at *1 n.1 (E.D. Pa. Dec. 2,
2011) (Robreno, J.) (applying maritime law to ship in "dry dock"
for overhaul). By contrast, work performed in other areas of the
shipyard or on a dock, (such as work performed at a machine shop
in the shipyard, for example, as was the case with the Willis
plaintiff discussed in Conner) is land-based work. The connection
test requires that the incident could have "'a potentially
disruptive impact on maritime commerce,"' and that "'the general
character' of the 'activity giving rise to the incident' shows a
'substantial relationship to traditional maritime activity.'"
Grubart, 513 U.S. at 534 (citing Sisson, 497 U.S. at 364, 365,
and n. 2) .

          Locality Test
          If a service member in the Navy performed some work at
          shipyards (on land) or docks (on land) as opposed to
          onboard a ship on navigable waters (which includes a
          ship docked at the shipyard, and includes those in "dry
          dock"), "the locality test is satisfied as long as some
          portion of the asbestos exposure occurred on a vessel
          on navigable waters." Conner, 799 F. Supp. 2d at 466;
          Deuber, 2011 WL 6415339, at *l n.1. If, however, the
          worker never sustained asbestos exposure onboard a
          vessel on navigable waters, then the locality test is
          not met and state law applies.

          Connection Test
          When a worker whose claims meet the locality test was
          primarily sea-based during the asbestos exposure, those
          claims will almost always meet the connection test
          necessary for the application of maritime law. Conner,
          799 F. Supp. 2d at 467-69 (citing Grubart, 513 U.S. at

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             534) . This is particularly true in cases in which the
             exposure has arisen as a result of work aboard Navy
             vessels, either by Navy personnel or shipyard workers.
             See id. But if the worker's exposure was primarily
             land-based, then, even if the claims could meet the
             locality test, they do not meet the connection test and
             state law (rather than maritime law) applies. Id.

          It is undisputed that Plaintiff's alleged exposure to
asbestos from Defendant's product(s) occurred while aboard a
ship. Therefore, this exposure was during sea-based work. See
Conner, 799 F. Supp. 2d 455. Accordingly, maritime law is
applicable to Plaintiffs' claims against Defendant. See id. at
462-63.

     C.      Bare Metal Defense Under Maritime Law

          This Court has held that the so-called "bare metal
defense" is recognized by maritime law, such that a manufacturer
has no liability for harms caused by - and no duty to warn about
hazards associated with - a product it did not manufacture or
distribute. Conner v. Alfa Laval, Inc., No. 09-67099, - F. Supp.
2d -, 2012 WL 288364, at *7 (E.D. Pa. Feb. 1, 2012) (Robreno, J.).

     D.      Product Identification/Causation Under Maritime Law

           In order to establish causation for an asbestos claim
under maritime law, a plaintiff must show, for each defendant,
that "(l) he was exposed to the defendant's product, and (2) the
product was a substantial factor in causing the injury he
suffered." Lindstrom v. A-C Prod. Liab. Trust, 424 F.3d 488, 492
 (6th Cir. 2005); citing Stark v. Armstrong World Indus., Inc., 21
F. App'x 371, 375 (6th Cir. 2001). This Court has also noted
that, in light of its holding in Conner v. Alfa Laval, Inc., No.
09-67099, - F. Supp. 2d -, 2012 WL 288364 (E.D. Pa. Feb. 1,
2012) (Robreno, J.), there is also a requirement (implicit in the
test set forth in Lindstrom and Stark) that a plaintiff show that
(3) the defendant manufactured or distributed the asbestos-
containing product to which exposure is alleged. Abbay v.
Armstrong Int'l., Inc., No. 10-83248, 2012 WL 975837, at *l n.l
 (E.D. Pa. Feb. 29, 2012) (Robreno, J.).

          Substantial factor causation is determined with respect
to each defendant separately. Stark, 21 F. App'x. at 375. In
establishing causation, a plaintiff may rely upon direct evidence
(such as testimony of the plaintiff or decedent who experienced

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the exposure, co-worker testimony, or eye-witness testimony) or
circumstantial evidence that will support an inference that there
was exposure to the defendant's product for some length of time.
Id. at 376 (quoting Harbour v. Armstrong World Indus., Inc., No.
90-1414, 1991 WL 65201, at *4 (6th Cir. April 25, 1991)).

           A mere "minimal exposure" to a defendant's product is
insufficient to establish causation. Lindstrom, 424 F.3d at 492.
"Likewise, a mere showing that defendant's product was present
somewhere at plaintiff's place of work is insufficient." Id.
Rather, the plaintiff must show "'a high enough level of exposure
that an inference that the asbestos was a substantial factor in
the injury is more than conjectural.'" Id. (quoting Harbour, 1991
WL 65201, at *4). The exposure must have been "actual" or "real",
but the question of "substantiality" is one of degree normally
best left to the fact-finder. Redland Soccer Club, Inc. v. Dep't
of Army of U.S., 55 F.3d 827, 851 (3d Cir. 1995). "Total failure
to show that the defect caused or contributed to the accident
will foreclose as a matter of law a finding of strict products
liability." Stark, 21 F. App'x at 376 (citing Matthews v. Hyster
Co., Inc., 854 F.2d 1166, 1168 (9th Cir. 1988) (citing Restatement
 (Second) of Torts, § 402A (1965))).

II.   Defendant General Electric's Motion for Summary Judgment

      A.     Defendant's Arguments

          General Electric argues that Plaintiff's evidence is
insufficient to establish causation with respect to any product
for which it can be liable. It contends that this is because (1)
there is no evidence that Plaintiff breathed in any respirable
asbestos fibers from a product manufactured by it or RCA, (2)
there is no evidence that it was negligent in any way (i.e., that
it violated any duty of care owed to Plaintiff), and (3) there is
no admissible testimony that any GE or RCA product contained
asbestos because (a) Plaintiff's testimony on the matter is
inadmissible lay testimony, (b) any information on asbestos
content that he obtained from his counsel is inadmissible
hearsay, and (c) he has not proffered scientific evidence on this
matter (such as expert testimony or scientific analysis of the
composition of the products at issue) .

      B.     Plaintiff's Arguments

          In support of his assertion that he has identified
sufficient evidence of exposure/causation to survive summary

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judgment, Plaintiff cites to the following evidence:

               •     Deposition of Plaintiff (Calvin Damon)
                     Plaintiff provides testimony that he worked
                     as a radarman aboard the USS Lake Champlain
                     and the USS Independence during the mid
                     1960s. He explained that he worked in both
                     the "ECM" room and the "radar room."

                     Plaintiff testified that he worked with RCA
                     equipment in the "ECM" or radar room, and
                     that he was exposed to respirable dust from
                     this equipment when he would take it apart
                     and open it up.

                     He also testified that he worked with radar
                     equipment, and that it looked similar to RCA
                     radar equipment shown to him by counsel in a
                     document. He could not testify that the radar
                     equipment he worked with was in fact RCA.

                     Plaintiff confirmed that he could not testify
                     to working with any GE equipment during his
                     time aboard the ships.

                     (Pl. Exs. A and B, Doc. No. 267.)

               •     Various Documents
                     Plaintiff cites to various other pieces of
                     evidence, including military specifications,
                     expert testimony, marketing materials,
                     discovery responses of Defendant,
                     correspondence with Defendant, and industry
                     articles (dating back to the 1930s). None of
                     these documents show that Plaintiff was
                     exposed to respirable asbestos dust from any
                     product manufactured or supplied by GE or RCA
                     (even when considered in conjunction with
                     Plaintiff's deposition testimony describing
                     his work and dust exposures while aboard the
                     ships at issue) .

                     (Pl. Exs. C through 0, Doc. Nos. 267, 267-1,
                     267-2, 267-3, 267-4, 267-5, and 267-6.)


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     C.     Analysis

          Plaintiff alleges that he was exposed to asbestos from
RCA radar equipment, GE radar equipment, gaskets used in
connection with the radar equipment, and wire insulation used in
connection with all of this equipment. The Court examines the
evidence pertaining to each source of alleged exposure
separately:

                  (i)    RCA Radar Equipment

           There is evidence that Plaintiff worked with RCA
equipment in the "ECM" or radar room, and that he was exposed to
respirable dust from this equipment when he would take it apart
and open it up. There is also evidence that he worked with radar
equipment that looked similar to RCA radar equipment shown to him
by counsel in a document. However, there is no evidence that any
of the respirable dust to which he was exposed in connection with
the RCA equipment contained asbestos - or that he was otherwise
exposed to respirable asbestos dust from any radar equipment
manufactured or supplied by RCA (or GE) . As such, no reasonable
jury could conclude from the evidence that Plaintiff was exposed
to asbestos from radar equipment manufactured and/or supplied by
RCA (or GE) such that it was a substantial factor in the
development of his illness because any such finding would be
based on conjecture. See Lindstrom, 424 F.3d at 492. Accordingly,
summary judgment in favor of Defendant is warranted with respect
to this source of alleged asbestos exposure. Anderson, 477 U.S.
at 248-50.

                  (ii)   GE Radar Equipment

          There is no evidence that Plaintiff was exposed to
respirable dust from GE radar equipement (whether asbestos-
containing or otherwise) . As such, no reasonable jury could
conclude from the evidence that Plaintiff was exposed to asbestos
from radar equipment manufactured and/or supplied by GE such that
it was a substantial factor in the development of his illness
because any such finding would be based on conjecture. See
Lindstrom, 424 F.3d at 492. Accordingly, summary judgment in
favor of Defendant is warranted with respect to this source of
alleged asbestos exposure. Anderson, 477 U.S. at 248-50.


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                  (iii) Gaskets

          There is no evidence that Plaintiff was exposed to
respirable asbestos dust from any gasket manufactured or supplied
by GE or RCA. As such, no reasonable jury could conclude from the
evidence that Plaintiff was exposed to asbestos from gaskets
manufactured and/or supplied by Defendant such that it was a
substantial factor in the development of his illness because any
such finding would be based on conjecture. See Lindstrom, 424
F.3d at 492. Accordingly, summary judgment in favor of Defendant
is warranted with respect to this source of alleged asbestos
exposure. Anderson, 477 U.S. at 248-50.

                  (iv)   Wire Insulation

           There is no evidence that Plaintiff was exposed to
respirable asbestos dust from any wire (and/or insulation)
manufactured or supplied by GE or RCA. As such, no reasonable
jury could conclude from the evidence that Plaintiff was exposed
to asbestos from wire (and/or insulation) manufactured and/or
supplied by Defendant such that it was a substantial factor in
the development of his illness because any such finding would be
based on conjecture. See Lindstrom, 424 F.3d at 492. Accordingly,
summary judgment in favor of Defendant is warranted with respect
to this source of alleged asbestos exposure. Anderson, 477 U.S.
at 248-50.

     D.     Conclusion

          Summary judgment in favor of Defendant on grounds of
insufficient evidence of exposure/causation is granted with
respect to all alleged sources of exposure.

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